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^*^                                                                    FILED IN CHAMBERS
                                                                        U.S.D.C ATLANTA

                                                                         05/17/2022
                                                                   Date: _____________________
                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIAKEVIN P. WEIMER, Clerk
                           ATLANTA DIVISION             /s/Sonya Lee Coggins
                                                    By: ____________________________
                                                                         Deputy Clerk


    UNITED STATES OF AMERICA
                                             Criminal Indictment
          V.

                                             No. & ;82-CRl83
    JOHN W. OXENDINE
                                             UNDER SEAL


 THE GRAND JURY CHARGES THAT:


                                    Count One
                    Conspiracy to Commit Health Care Fraud

    1. Beginning in or about September 2015, and continuing through in or about

 June 2017, in the Northern District of Georgia and elsewhere/ the defendant/

 JOHN W. OXENDINE/ did knowingly and willfully combme/ conspire/

 confederate/ agree/ and have a tacit understanding with others known and

 unknown to the Grand Jury/ to commit an offense against the United States/ to

 wit/ to knowingly and willfully execute and attempt to execute a scheme and

 artifice to defraud Aetna/ Blue Cross Blue Shield/ United Healthcare/ and other

 health care insurance providers/ which are health care benefit programs affecting

 commerce as defined in Title 18, United States Code, Section 24(b)/ and to obtain

 by means of materially false and fraudulent pretenses, representations/ and

 promises/ money and property owned by/ and under the custody and control of/


 Aetna/ Blue Cross Blue Shield/ United Healthcare/ and other health care

 insurance providers in connection with the delivery of and payment for health
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care benefits/ items, and services/ in violation of Title 18, United States Code/

Section 1347.


                                Scheme to Defraud


   2. In executing the health care fraud scheme/ the defendant/ JOHN W.

OXENDINE/ and others known and unknown to the Grand Jury/ conspired to

cause to be submitted to Aetna/ Blue Cross Blue Shield/ United Healthcare/ and

other health care insurance providers, fraudulent insurance claims for medically

unnecessary Pharmacogenetic/ Molecular Genetic/ and Toxicology testing. In

furtherance of the scheme/ physicians associated with Dr. Jeffrey Gallups s ENT

practice in the Northern District of Georgia and elsewhere were pressured to

order medically unnecessary Pharmacogenetic/ Molecular Genetic/ and

Toxicology testing from a testing lab in Texas (the Lab Company). As part of the

health care fraud scheme/ the Lab Company and defendant OXENDINE and Dr.

Gallups entered into an agreement whereby Dr. Gallups would receive a

kickback of 50% of the net profit for eligible specimens submitted by Dr.

Gallups s practice to the Lab Company for Pharmacogenetic/ Molecular Genetic/

and Toxicology testing. The Lab Company paid the kickbacks to Dr. Gallups

through defendant OXENDINE. Defendant OXENDINE retained a portion of

the kickbacks and used a portion of the kickback money to pay certain debts of

Dr. Gallups.
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                               Manner and Means

   3. Defendant OXENDINE and Dr. Gallups met with representatives of the

Lab Company in Dallas/ Texas. Defendant OXENDINE/ Dr. Gallups/ and the Lab

Company agreed that Dr. Gallups's practice would order Pharmacogenetic/

Molecular Genetic/ and Toxicology testing/ even after the owner of the Lab

Company questioned why an ENT practice would need such testing.

   4. The Lab Company agreed to pay Dr. Gallups a kickback of 50% of the net

profit for eligible specimens submitted by Dr. Gallups/s practice to the Lab

Company for Pharmacogenetic/ Molecular Genetic/ and Toxicology testing.

These payments were made to defendant OXENDINE/ rather than directly to Dr.

Gallups or Dr. Gallups/s practice.

   5. On or about September 19, 2015, Dr. Gallups/s practice held a meeting at

the Ritz Carlton hotel in Buckhead. At that meeting/ defendant OXENDINE gave

a speech where he told the doctors that they needed to order the

Pharmacogenetic/ Molecular Genetic/ and Toxicology testing for their patients.

   6. On or about December 14, 2015, Dr. Gallups executed a business associate

agreement and an Independent Contractor Agreement with the Lab Company on

behalf of his medical practice. The Independent Contractor Agreement had

several exhibits/ including exhibits for Pharmacogenetics & Molecular Genetics

Marketing Commission Terms and Toxicology and Drug Screening Marketing

Commission Terms/ which stated that Dr. Gallups's medical practice would
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receive 50% of the net profit for lab testing that was performed by the Lab

Company. The Lab Company retained the other 50%.

   7. On or about May 13, 2016, defendant OXENDINE signed similar

agreements with the Lab Company on behalf of his insurance services business/

including an Independent Contractor Agreement. That Agreement also had

several exhibits/ including exhibits for Pharmacogenetics & Molecular Genetics

Marketing Commission Terms and Toxicology and Drug Screening Marketing

Commission Terms. Those commission, term exhibits changed the payment of

the 50% kickback from Dr. Gallups's practice to defendant Oxendine's insurance

services business.


   8. In or about June 2016, the Lab Company confirmed that it was paying

defendant OXENDINE's insurance services business the kickbacks instead of

paying Dr. Gallups directly.

   9. As a result of the agreements/ Dr. Gallups/s practice instituted policies

requiring doctors to order laboratory tests from the Lab Company. The orders

resulted in the Lab Company submitting claims for laboratory tests ordered by

Dr. Gallups's practice that were not medically necessary. In submitting these

claims, the Lab Company falsely represented that tests were medically necessary

and failed to disclose that tests were not medically necessary. In total/ the Lab

Company submitted claims seeking over $2/500/000 in payment for laboratory

tests ordered by Dr. Gallups's practice. The insurance companies paid over

$600/000 to the Lab Company as a result of these claims.
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   10. On or about June 17, 2016, the Lab Company sent a check in the amount of

$227/066.56 to defendant OXENDINE's insurance services business for testing

referrals from October 2015 through May 2016. Those payments were for

referrals for testing pursuant to the policy instituted by Dr. Gallups requiring

mandatory testing/ and resulted in over $600/000 in payments by insurance

companies for the tests/ including for patients for whom there was no medical

necessity.


   11. After that initial check/ the testing company sent checks on an

approximately monthly basis to defendant OXENDINE's insurance services

business through June 2017:
             Date                      Check Number      Amount
             June 17, 2016             3438              $227/066.56
             July 15, 2016             3497              $8/627.01
             August 12, 2016           3563              $5/141.97
             November 17, 2016         3748              $4/455.84
             December 14, 2016         1038              $6/326.32
             January 13, 2017          1085              $4/556.65
             February 14, 2017         1154              $5/970.06
             March 14, 2017            1191              $824.54
             April 14, 2017            1233              $1/161.38
             June 14, 2017             1282              $42.30

   12. To pay Dr. Gallups his portion of the kickbacks/ defendant OXENDINE

made charitable donations and paid expenses/ including attorney's fees/ on

behalf of Dr. Gallups. Specifically/ defendant OXENDINE made a charitable

donation of $150/000 on behalf of Dr. Gallups in or about September 2016.

Defendant OXENDINE also paid $70,759.54 to a law firm on behalf of Dr.
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Gallups in or about December 2016. After these payments/ defendant

OXENDINE retained over $40/000 of the payments from the Lab Company.

All in violation of Title 18, United States Code/ Section 1349.


                                     Count Two
                    Conspiracy to Commit Money Laundering


   13. The Grand Jury hereby realleges and incorporates by reference the factual

allegations of paragraphs 2 through 12 of this Indicbnent as if the same were

fully set forth herein.

   14. From in or about June 2016, through in or about June 2022, in the Northern

District of Georgia and elsewhere/ the defendant/ JOHN W. OXENDINE/ did

knowingly combine/ conspire/ confederate, agree/ and have a tacit understanding

with others known and unknown to the Grand Jury/ to conduct and attempt to

conduct financial transactions affecting interstate commerce/ which involved the

proceeds of a specified unlawful activity/ that is/ health care fraud/ in violation of

Title 18, United States Code, Section 1347, knowing that the financial transactions

were designed in whole and in part to conceal and disguise the nature/ location/

source/ ownership/ and control of the proceeds of specified unlawful activity/

and while conducting and attempting to conduct such financial transactions/

knowing that the property involved in the financial transactions represented the

proceeds of some form of unlawful activity/ in violation of Title 18, United States

Code/ Section 1956(a)(l)(B)(i).
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   15. It was part of the conspiracy that defendant OXENDINE would deposit

checks sent to him by the Lab Company into his insurance services business.

Defendant OXENDINE deposited the checks into his own account even though

the checks resulted from fraudulent claims submitted by the Lab Company for

laboratory tests ordered by Dr. Gallups's practice. Defendant OXENDINE made

payments on behalf of Dr. Gallups as directed by Dr. Gallups out of the proceeds

defendant OXENDINE deposited into his insurance services business bank

account.


All in violation of Title 18, United States Code/ Section 1956(h).

                                      Forfeihire

   16. Upon conviction of the offense alleged in Count One of this Indictment/

the defendant/ JOHN W. OXENDINE/ shall forfeit to the United States of

America/ pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title

28, United States Code/ Section 2461 (c)/ any property/ real or personal/ which

constitutes or is derived from proceeds traceable to the offense. The property to

be forfeited includes/ but is not limited to/ the following:

      a. MONEY JUDGMENT: A sum of money in United States currency/

           representing the amount of proceeds obtained as a result of the offense

           alleged in Count One of this Indictment.

   17. Upon conviction of the offense alleged in Count Two of this Indictment,

the defendant/ JOHN W. OXENDINE/ shall forfeit to the United States/ pursuant

to Title 18, United States Code/ Section 982(a)(l)/ any property, real or personal/

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involved in said violations, and any property traceable to such property. The

property to be forfeited includes, but is not limited to/ the following:

      MONEY JUDGMENT: A sum of money in United States currency/

      representing the amount of proceeds obtained as a result of the

      offense alleged in Count Two of this Indictment

   18. If/ any of the property described above/ as a result of any act or omission of

the defendant:

      (a) cannot be located upon the exercise of due diligence;

      (b) has been transferred or sold to/ or deposited with/ a third party;

      (c) has been placed beyond the jurisdiction of the Court;

      (d) has been substantially diminished in value; or

      (e) has been commingled with other property which cannot be divided

         without difficulty;




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the United States intends/ pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 18, United States Code, Section 982(b)(l) and

Title 28, United States Code/ Section 2461 (c)/ to seek forfeiture of any other

property of the defendant up to the value of the forfeitable property.



                                           A T7<W BILL


                                                      FQREPERSON
RYAN K. BUCHANAN /
  United^yfates Attonyy


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